                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
 IN RE:                                          :
                                                 :      Case No. 5:14-bk-02262-HWV
 LETICIA R. COUTTIEN,                            :
                                                 :      Chapter 7
                 Debtor.                         :

                                             ORDER

          Upon consideration of the Motion to Extend Time to File a Notice of Appeal based on

 alleged excusable neglect, Doc. 152, and the hearing held on this matter on April 25, 2023, Doc.

 168, it is

          ORDERED that the Motion is DENIED for the reasons stated on the record which serve

 as this Court’s findings of fact and conclusions of law under Federal Rule of Bankruptcy

 Procedure 7052. (Doc. 152.)




                                                     By the Court,



                                                     ____________________________________
                                                     Henry W. Van Eck, Chief Bankruptcy Judge
                                                     Dated: April 25, 2023




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